 

 

Case 1:22-cv-00340-SPB Document 263 Filed 03/06/23 Page 1 of 2

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF PENNSYLVANIA

BETTY EAKIN, et al, )
Plaintiffs, )
)
Vv. ) Case No. 1:22-CV-340
)
ADAMS COUNTY )
BOARD OF ELECTIONS, et al, ) RE: ECF No. 248
Defendants. )
ORDER

AND NOW, this 6th day of March 2023;

IT IS HEREBY ORDERED that Plaintiffs Motion to Compel Responses to Interrogatory
7 and Request for Production 2 [ECF No. 248] is granted.

IT IS FURTHER ORDERED that all Defendant County Boards of Elections shall
respond fully to Plaintiffs’ Interrogatory No. 7 and produce the documents requested in Request
for Production No. 2 by March 13, 2023.

IT IS FURTHER ORDERED that, until further Order of this Court, the information
produced in response to this Order is deemed confidential and will be stamped
“CONFIDENTIAL ATTORNEY EYES ONLY INFORMATION.” The information is not to be
accessible to anyone other than the counsel of record in this case and counsel of record in
NAACP vy. Schmidt, C.A. No. 1:22-339, except that counsel of record in both cases may share
said documents with each other and with any expert retained for purposes of either litigation.
Any expert in either case to whom this information is disclosed must abide by the terms of this

Order.

 
 

 

Case 1:22-cv-00340-SPB Document 263 Filed 03/06/23 Page 2 of 2

IT IS FURTHER ORDERED that if any counsel of record in either case believes it is
necessary to share any of the information that is the subject of this Order with someone other
than a person who is permitted to review the documents under the foregoing provisions, counsel
may move the Court to do so.

IT IS FURTHER ORDERED that within thirty (30) days of the conclusion of this case
(including conclusion of any and all appeals), all counsel of record in either case in possession of|
any of the information that is the subject of this Order, as well as any expert in possession of any
of the information, will destroy said information.

IT IS FURTHER ORDERED that fact discovery is hereby extended until March 15, 2023
and all experts reports shall be served by March 29, 2023. All other scheduling deadlines set
forth in the Case Management Order filed on February 9, 2023 remain in effect. See ECF No.

227,

 
 
      

SUSAN PARADISE BAXTE
United States District Judge

 
